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                                           UNITED STATES DISTRICT COURT
                                              DISTRICT OF MINNESOTA

                       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *

Scott A. Holman,

                           Plaintiff,

       vs.                                                                                 SETTLEMENT CONFERENCE ORDER

Lauri A. Ketola, individually and in her official
capacity as County Attorney of Carlton County;
City of Cloquet, Minnesota, a municipal corporation;
Kerry E. Kolodge, individually and in his official
capacity as Cloquet City Council Member,

                           Defendants.                                                     Court File No. 20-cv-224 (PJS/LIB)


                   *       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *       *

       In accordance with Local Rule 16.5(b), a Settlement Conference in the above-entitled

matter is set for Thursday, June 9, 2022, at 10:00 a.m., before Magistrate Judge Leo I. Brisbois,

in Courtroom No. 3, Gerald W. Heaney Federal Building and U.S. Courthouse and Customhouse,

515 W. First St., Duluth, Minnesota.

       Counsel who will actually try the case and each party, armed with full settlement discretion,

shall be present in person.                If individuals are parties to this case, they shall also be present.                                                            If a

corporation or other collective entity is a party, a duly authorized officer or managing agent of that

party shall be present.            This means that each party must attend through a person who has the

power to change that party=s settlement posture during the course of the conference.                                                                               If the party

representative has a limit, or Acap@ on his or her authority, this requirement is not satisfied.

If an insurance company is involved, the responsible agent must be present in person.
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           The parties shall note that the Settlement Conference will not be terminated to

accommodate any travel plans.           If needed, hotel reservations should be made in advance of the

Conference to accommodate continuing settlement efforts that extend past the usual business

hours. 1

           In order to encourage the parties to address the issue of settlement on their own, counsel

for all parties must engage in direct talks (email or letter exchanges will not be considered to be

direct talks) at least ten (10) days prior to the date of the Settlement Conference, to engage in a full

and frank discussion of settlement.        If the case does not settle, each attorney shall submit to the

undersigned, at least one (1) week before the date of the Settlement Conference, a

confidential letter setting forth the parties= respective settlement positions before the meeting,

their respective positions following the meeting and a reasoned, itemized analysis justifying their

client=s last stated settlement position.     This confidential letter shall be submitted directly to

Magistrate        Judge    Leo     I.     Brisbois    by    e-mail    to   the    following    address:

brisbois_chambers@mnd.uscourts.gov.               Failure of any lawyer to submit this letter may, in the

Court=s discretion, result in the Settlement Conference being rescheduled and the imposition of an

appropriate sanction on the attorney whose failure caused the Conference to be postponed.




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        If the parties reach an impasse and are unable to settle this case at this Court-mediated
Settlement Conference, the parties are strongly encouraged and expected to fully explore other
options for participation in private ADR in an effort to see if settlement efforts may be restarted
and the case resolved by mutual agreement prior to the date certain trial date set by the District
Judge. The parties should submit a joint report to the Magistrate Judge via CM/ECF on the
outcome of any such private ADR efforts.

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Additional sanctions may be imposed for failure to comply with any of the other foregoing

instructions.



                                                 BY THE COURT:



DATED:      February 10, 2022                    s/Leo I. Brisbois
                                                 Leo I. Brisbois
                                                 U.S. MAGISTRATE JUDGE




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